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‘ ‘ SNR Denton US LLP Samuel Fifer
SNR DENTON # 239 Seuth Weeker Dive Partner
Suite 7800 samuel fifer@snrdenton,.com
Chicago, IL 60506-6206 USA D +1 312 876.3114

T +4312 878 8000
F +4312 876 7934
snrdenton.com

September 23, 2011

BY U.S, MAIL AND E-MAIL

Mrs. Hedda Litwin

National Association of Attorneys General
2030 M Street, NW

Washington, DC 20036

Re: Response of Backpage.com to NAAG Letter of August 31, 2011

Dear Mrs. Litwin:

On behalf of our client, Backpage.com, we acknowledge receipt of an August 31,
2011 letter from the National Association of Attorneys General (NAAG). We appreciate
the additional time you accorded us to reply.

Permit us to respond to your request for information and suggest a meeting at
your earliest convenience to help chart a meaningful course, congruent with the law and
with the critical importance of the 2011-2012 Presidential initiative, to protect children
from the terrible tragedy that is child trafficking. Toward this end, Backpage.com has
requested that Jeff Modisett of this firm and Don Bennett Moon, an Independent Director
on the Village Voice Media board, represent the company in its interaction with NAAG.
Mr. Modisett is a former member of NAAG with wide experience in Internet-related
issues. Mr. Moon has headed our client’s site safety and mitigation efforts with the
National Center for Missing and Exploited Children (NCMEC) since last March, and both
Mr. Modisett and Mr. Moon are former elected prosecutors with strong backgrounds in
child protection issues.

Backpage.com understands and shares the concerns expressed by the Attorneys
General. There is no gap between our mutual goal of eradicating the scourge of child
trafficking as quickly and effectively as possible. We are pledged to work cooperatively
with law enforcement to protect children and we have already taken bold measures to
remove postings on our site that could in any way involve child trafficking.

Today, Backpage.com continues to take effective measures to track and eliminate
illegal activity by third parties using the adult services sections of its website and

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continues to closely cooperate with law enforcement, including NAAG’s Attorneys
General Working Group, in order to better understand the law enforcement community's
needs and more effectively prevent criminal activity on its website. Mr. Matt Dameron,
the Chief of Staff to Missouri Attorney General Christopher Koster, one of the leaders of
the Working Group, can confirm Backpage.com’s involvement with the Working Group's
efforts, the progress that has been made, and the openness and professionalism of our
continuing dialogue.

In addition to its cooperation with the Working Group, Backpage.com has
developed a strong cooperative relationship with front-line state and federal law
enforcers around the country—assisting with sting operations, promptly responding to
subpoenas, and otherwise aiding in the prosecution of those who misuse the site.

Backpage.com continues to use the twin tools of aggressive content moderation
and programmatic content filtration to limit the nature and extent of objectionable
material in the adult services section of its site and we look forward to the opportunity to
set out these measures for you in detail. Similarly, the company has worked closely with
NCMEC to develop logarithmic “screens” that detect and filter terms that are believed to
be improper or that propose an illegal transaction and we look forward to the opportunity
to share this technology with you.

The effectiveness of these and other measures has extended beyond the
moderation of the aduit services sections of the site. We look forward to sharing with you
the security measures that have succeeded in rooting out and eliminating other types of
legal and harmful material, including scammers, “phishers”, would-be perpetrators of
economic frauds and others, including those engaged in prostitution. Not every instance
of such activity can be quickly and successfully interdicted, as anyone involved in law
enforcement knows. But there can be no question that Backpage.com does its best to
provide a safe and legal environment for its customers and to be a responsible corporate
citizen. The company’s successful partnership with law enforcement is vivid testament to
that. As a member of a Law Enforcement agency recently wrote, in an August 29, 2071
message to Backpage.com’s Carl Ferrer:

‘This active cooperation is exemplified by a recent (February 2011) case in which a user
created a message to alert others to the existence of an FBI sting operation in the
Chicago area. Backpage.com took the offending post down within an hour. The
company learned of this posting when the FBI quickly communicated via email with
support@backpage.com.

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{We] can’t thank you and your staff enough for being so responsive
and supportive of [our] and other law enforcement efforts concerning
these cases. Your company’s level of cooperation is not the norm
and makes a huge difference in our ability to target and ultimately
arrest the offender.

While we fully embrace the opportunity and look forward to working with the
Attorneys General on our own behalf, Backpage.com’s conduct stands in stark contrast
to others in the industry and compares favorably with (1) telephone directory listings for
“Escort Services”; (2) newspaper personal ad sections; (3) give-away “adult services”
papers and magazines widely distributed in urban areas and found in “honor” boxes in
heavily trafficked areas and (4) escort sites, such as those found on major search
engines, and large escort damain hosting companies.

The following responds generally to your queries as regards information that is
not proprietary in nature or inappropriate for public viewing. We routinely share
proprietary and sensitive law enforcement-related information with NCMEC, and with law
enforcement generally, and have no objection to providing the same to NAAG under
some reasonable agreed-upon confidentiality protocol. The company has compiled
detailed responses to your query in those areas that involve proprietary or law
enforcement-sensitive answers.

As to prohibited terms for which Backpage.com is screening, our newly upgraded
and automated filters have already banned several thousand terms from ads, many of
them code words or intentionally misspelled words designed to circumvent standard
filters. Here, again, we will submit to you under separate cover a sample of banned
terms and phrases and the processes under which terms, URLs, IP addresses, and
other proprietary information are blocked.

As to the individualized or hand-review process undertaken by Backpage.com,
including the number of personnel assigned to conduct such review, we will gladly
supply you with this proprietary information under separate cover. We believe that our
level of resources dedicated to these processes compares favorably with any other web
or sacial media site and we are given to believe by NCMEC staff that no industry site
does more in this area than Backpage.com. For example, recently, ads were posted by
local law enforcement personnel on Backpage.com as part of a sting operation. Our
moderators, who had no knowledge of the sting, removed their postings, blocked their
credit card and reported the ad to NCMEC. Shortly thereafter, the law enforcement
agency sent the email below:

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From: [Name omitted for privacy purposes]
Date: August 29, 2011

To: Carl Ferrer<carl.ferrer@backpage.com
Subject: Re: Special Request

Certainly Carl, your staff did a great job! We appreciate Backpage’s
vigilance to help protect kids. On our team over the weekend were
the Secret Service, Department of Homeland Security, the United
States Attorney’s Office and several local law enforcement agencies
and all commented on how effective Backpage was on getting the
ads removed quickly and blocking future ads from the same posters.
Pli give you a call shortly. Thanks.

As to Backpage.com’s ad review processes, including the number of adult
advertisements submitted since September 7, 2010, those subjected to individualized or
hand review, those rejected prior to publication, and criteria used to determine whether a
published advertisement should be removed due to actual or suspected criminal activity,
we have compiled this proprietary information and will submit it under separate cover.

As to law enforcement agencies and safety advocates/experts with whom
Backpage.com has partnered, we have a well-documented history of working proactively
and effectively with law enforcement to prevent underage prostitution and other
exploitation and to assist in the identification and arrest of perpetrators who are intent on
breaking the law.

Examples of Backpage.com’s actions in partnership with law enforcement
include:

» Regularly providing live testimony at trial to authenticate the evidence of
criminals who have wrongfully used Backpage.com’s web site. For example, in
federal court alone, Backpage.com recently provided testimony in five
prosecutions—all resulting in convictions or indictments in Atlanta,
Jacksonville, Miami, Minneapolis and New York City.

*« Posting free and highly targeted Public Service Announcements for law
enforcement seeking witnesses to crimes.

e Distributing law enforcement guides with FAQs to further expedite
investigations.

e Working by phone and email with law enforcement in connection with special
investigations involving multivariate search requests.

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e Removing postings when requested by law enforcement. On numerous
occasions Backpage.com has been asked to quickly remove postings
interfering with law enforcement investigations, i.e. where the post is alerting
users to a sting.

e Blocking future postings from users when law enforcement has advised
Backpage.com that the user is engaged in illegal activity.

« Prompt and complete subpoena response. Many other websites or cellular
providers take weeks to provide records. Backpage.com responds to about
100 subpoenas from law enforcement each month, often turning around
responses to those subpoenas the same day. With respect to any child
exploitation investigation, it has often provided records within an hour.

e Even without a subpoena, in exigent circumstances such as a child rescue
situation Backpage.com will provide the maximum information and assistance
permitted under the law.

® Investigators quickly receive records requested, including IP addresses with
time, date and time zone stamps, email address, full credit card data and all
images as four-color electronic documents.

« Backpage.com has added further information to each NCMEC report, at law
enforcement’s urging, including the user name of the Backpage.com staff
member reporting the past in order for law enforcement to contact them
directly for further information.

On August 9, 2011 Backpage.com held two well-attended workshops for law
enforcement agencies at the Crimes Against Children Conference in Dallas. At those
workshops, Backpage.com distributed Law Enforcement Guides, described the data it
can secure for law enforcement, and fielded questions regarding how it handles sting
postings and future tools requested by law enforcement.

The Agencies with whom Backpage.com has partnered include:

e Federal (Department of Homeland Security and Federal Bureau of
investigation): Backpage.com has initiated contact with the FBI about
possible illegal activity from stolen credit card use, employment scams, and
possible child endangerment. Backpage.com has worked with dozens of
federal agents, quickly providing records in response to federal subpoenas,
and assisting with unique investigations often requiring multivariate search
requirements.

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e State and Local Law Enforcement: Backpage.com’s Cyber Tip Line reports
are sent to both state and local law enforcement. Backpage.com works with
hundreds of state attorney general investigators, sheriffs departments, and
vice/high risk victims unit detectives across the country; as well as with
Internet Crimes Against Children (IPAC) Task Forces, establishing
communication channels, presenting tools for law enforcement's use, and
discussing improvements to the web site.

® Non-Governmental Organizations:

NCMEC. The company has regular monthly meetings with NCMEC staff. We
have received invaluable suggestions from NCMEC as fo available online
tools and resources for deterring, reporting and removing objectionable
postings.

SSP Blue. We have worked with the nationally known internet security expert
Hemanshu Nigam of SSP Blue to further develop and refine Backpage.com’s
protection strategy, and implement his recommendations on moderation,
reporting mechanisms and content policy standards.

Any user report of suspected exploitation of minors and/or human trafficking
automatically subjects the ad to further internal review. As to your request for the
number of advertisements Backpage.com has reported to law enforcement and NCMEC
since September 1, 2010 because of suspected illegal activity, and the number of these
reports that were user-generated, the company has compiled this information for your
review and will submit it under separate cover.

With regard to Backpage.com’s “understanding” or what does and does not
constitute “illegal activity” on its website, the company acknowledges and appreciates
NAAG’s request that we set out our view of the law. The following is the text of the page
displayed when an advertiser first enters the site wishing to place an adult services ad:

You agree to the following when posting in this category:

e [will not post obscene or lewd and lascivious graphics or
photographs which depict genitalia or actual or simulated sexual
acts;

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« |will not post any solicitation directly or in “coded” fashion for
any illegal service exchanging sexual favors for money or other
valuable consideration;

» | will not post any material on the Site that exploits minors in any
way;

« |will not post any material on the Site that in any way constitutes
or assists in human trafficking;

« lam atleast 18 years of age or older and not considered to be a
minor in my state of residence.

Any post exploiting a minor in any way will be subject to criminal
prosecution and will be reported to the Cyber Tip Line and law
enforcement.

Any post with terms or misspelled versions of terms implying an
illegal service will be rejected. [We are happy te provide examples of
these terms under separate confidential cover].

Postings violating these rules and our Terms of Use are subject to
removal without refund.

What follows is the text appearing on the next screen, where the potential
advertiser has the opportunity to post the actual text of an ad:

NOTICE:

e Do not post naked images, e.g. uncovered genitalia, bare butts,
nipple or nipple area, sex acts, etc.

® Do not post images using transparent clothing, graphic box or
pixelization to cover bare breasts or genitalia

» Pricing for legal adult services must be for a minimum of one
hour?

2 Your letter indicates Backpage.com “requires” adult service advertisements to “include
hourly rates.” It does not.

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« Example: 15 minute services are not allowed, no blank pricing,
etc.

e Ads can be a maximum of 500 characters

e Do not use code words such as [omitted in this copy; will be
submitted under separate confidential cover)".

® Do not suggest an exchange of sex acts for money

® Do not post content which advertises an illegal service

Postings not complying with the terms of use are subject to removal.

In addition to the foregoing, users are empowered and encouraged to report
abuse by other users to Backpage.com involving inappropriate or illegal content, spam,
ads posted in an incorrect category, etc. Any such abuse that involves a threat to
children is afforded special treatment: “If this involves a threat to a child or an image
of child exploitation, please email abuse@backpage.com the URL of the posting.”

You have asked for our understanding of what constitutes “illegal activity” for
classified advertising content on Backpage.com.

Our view is informed by the clearly stated purpose and language of the
Communications Decency Act of 1996 (CDA) that “[nJo provider or user of an interactive
computer service shall be treated as the publisher or speaker of any information
provided by another information content provider.” 47 U.S.C. § 230 (c) (1). The Act
“plainly immunizes computer service providers...from liability for information that
originates with third parties”. Zeran v. America Online, Inc., 129 F.3d 327, 328 (4" Cir.
1997); see also 47 U.S.C. § 230 (e) (3) (“[njo cause of action may be brought and no
liability may be imposed under any State or local law that is inconsistent with this
section’).

Our view is also informed by federal case authority that is unencumbered by
ambiguity as to the scope of the CDA’s immunity and pre-emption provisions for Internet

* Your letter states that, based on a visit to the “Seattle Escorts" section of
Backpage.com, the company's guideline requiring adult services advertisers not to “post
any solicitation directly or in ‘coded’ fashion for any illegal service” is “not enforced.” We
found no violations of the posting rules in a September 2 visit to the Seattle Escorts site.

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Service Providers like Backpage.com who publish third-party generated content,
including as to claims of any kind asserted by state and local law enforcement.’

Last month, in the 7.A. case, the court emphatically rejected the notion that
Backpage.com had somehow forfeited its statutory immunity because it is a for-profit
enterprise: “the fact that a website elicits online content for profit is immaterial...[T]o find
Backpage to be not immune from suit [because of] how it structured its website in order
to increase its profits would be to create a for-profit exception to Section 230’s broad
grant of immunity. This the Court may not do”. 2011 WL 3607660 at *7-8. Nor did
Backpage.com’s alleged notice of “prior cases of minors being sexually trafficked on its
website” affect its Section 230 immunity. Relying on the Dart case, the court held that
“neither notice or profit make Backpage liable for the content and consequences of the
[offending] ads...” Id. at *8-9 and n. 8 (noting that letter to Backpage.com from 21
Attorneys General “asking that the adult sections portion of its website be taken down”
was “irrelevant for purposes of Section 230 immunity’).°

‘See, e.g. Dart v. Craigslist, inc., 665 F. Supp. 2d 961 (N.D. Ill. 2009) (Craigslist’s “Erotic
Services” section did not “direct” people to prostitutes in violation of {llinois law, where
Craigslist itself did not “create[] the offending ads,” and “given section 230 (c) (1), we
cannot treat Craigslist as if it did create those ads”, “Intermediaries are not culpable for
‘aiding and abetting’ their customers who misuse their services to commit unlawful acts”;
dismissing Cook County Sheriffs claims; See also, Voicenet Comm., Inc. v. Corbett,
2006 WL 2506318, at *4 (E.D. Pa., August 30, 2008) (‘the plain language of the CDA
provides internet service providers immunity from state criminal laws’”);/V.A. ex rel P.K. v.
Village Voice Media Holdings, 20171 WL 3607660 (E.D. Mo., August 15, 2011) (holding
Backpage.com website is an interactive computer service and dismissing civil claims
based on purported violation of federal criminal statutes).

> Your letter references a meeting between Village Voice Media board member Don
Moon and officials of the Washington State Attorney General's office and certain
comments arising out of that meeting. Mr. Moon's comments were in response to an
assertion that “anyone can see that Backpage.com carries prostitution ads”. Mr. Moon
simply pointed out that an investigation of Backpage.com advertisements, like an
investigation of Fed Ex, U.P.S. or the U.S. Postal Service for illicit drugs, would produce
third-party users who are misusing a lawful enterprise and others who are not and that
federal cases, such as Dart, had specifically rejected this “anyone can see” argument in
the adult classifieds context. Cf. Chicago Lawyers’ Comm. for Civil Rights Under Law v.
Craigslist, inc., 519 F. 3d 666, 671-672, wherein the plaintiff unsuccessfully sought to
hold Craigslist responsible for “illegal” online classified ads: “Online services are in some
respects like the classified pages of newspapers, but in others they operate like common
carriers such as telephone services”; “[i]f Craigslist ‘causes’ [the offending posts] then so

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Finally, it is our view that any prosecution or threatened prosecution of
Backpage.com would infringe free speech rights under the First Amendment since a
governmental attempt to shut down ail or part of a perfectly lawful website would silence
vast amounts of constitutionally protected speech.” We believe this infringed-upon right
was both clearly established on and before August 31, 2011 and that the application of
extra-legal governmental pressure short of arrest or indictment would chill or silence a
person of ordinary firmness from the exercise of future First Amendment activities.

While we appreciate the opportunity to respond to your request as to our view of
the law, and would welcome your views if they conflict with ours, such legal precedent
and protections do not diminish our absolute commitment to work with law enforcement
to keep individuals from misusing our site. Mr. Modisett will be in touch immediately to
schedule a meeting and will be in a position to produce proprietary or law enforcement-
sensitive data compiled by Backpage.com in response to your letter of August 31, 2011.

Very truly yours,
SNR DENTON US LLP

By:
Samuel Fifer

cc: Mr. Derek Sarshad
Paula Selis, Esq.
Jeff Modisett, Esq.
Don Bennett Moon, Esq.

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do phone companies and courier services.” Mr. Moon did not state an admission. He
stated a judicially sanctioned legal truism with which no one in the meeting expressed
disagreement.

® See, e.g., Ashcroft v. Free Speech Coalition, 535 U.S. 234, 252-55 (2002); Bantam
Books, inc. v. Sullivan, 372 U.S. 58, 87 (1963). See also 42 U.S.C. § 1983.

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